UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
UNITED STATES, )
Plaintiff, )
V. ' Case No. 1:18-cv-05774-AT
NANCY ZAK, et al. '
Defendants. .

ORDER AMENDING DISCOVERY PLAN AND
CASE MANAGEMENT SCHEDULE

 

This matter comes before the Court on the parties’ Joint Motion to Amend
the Discovery Plan and Case Management Schedule. (See Doc. _ (“Joint

Motion”).) In their Joint Motion, the parties move for an order (1) extending the

current deadline for completion of rebuttal expert reports by an additional 50 days,
and (2) extending the current deadline for completion of expert discovery by an
additional 38 days after exchange of rebuttal expert reports. In the Joint Motion,
Defendants contend that there is a compelling need for the enlargement of time
sought by the motion, and Plaintiff does not oppose the requested enlargement.
ACCORDINGLY, for good cause shown and because there is a compelling
need for the Discovery Plan modifications requested in the parties’ Joint Motion:

The Joint Motion is GRANTED; and it is further
ORDERED that the Discovery Plan and Case Management Schedule
adopted and approved by the Court by order dated October 30, 2020 (see Doc.
213-2, 223) (“Discovery Plan”) and amended on April 12, 2021 and July 1, 2021
(see Doc, 270 and Docket Only Order dated July 1, 2021) is further AMENDED in
that the following dates shall now govern the discovery events and deadlines set

forth in the table below:

 

Current Deadline .

Event eee ee eee
Deadline

entry)

Disclosure of rebuttal September 22, 2021 | November 10, 2021

experts and rebuttal

expert reports due

 

 

Close of expert discovery | October 19, 2021 January 14, 2022

 

Deadline for summary November 10, 2021 | February 15, 2022
judgment motions

 

Deadline for Daubert November 10, 2021 | March 15, 2022
motions

 

Deadline for responses to | -- -- 28 days after filing of
summary judgment and respective motion
Daubert motions

 

 

 

 

 

 

Deadline for replies to ---- 14 days after filing of
responses to summary response to respective
judgment and Daubert motion
motions

and it is further
ORDERED that to the extent any provision of the Discovery Plan is not
inconsistent with this order, it shall remain in full force and effect and shall govern
the remainder of discovery in this case.

It is so ordered this 10th day of September 2021.

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AMY TOZENBERG TF
UNITED STATES DISTRICT JUDGE
